287 F.2d 885
    SUPERIOR COMBUSTION INDUSTRIES, Appellant,v.SCHOLLMAN BROS. CO.
    No. 16600.
    United States Court of Appeals Eighth Circuit.
    February 14, 1961.
    
      Appeal from the United States District Court for the District of Nebraska.
      Tyler B. Gaines and William B. Woodruff, Omaha, Neb., for appellant.
      Schmid, Snow &amp; Ford, Omaha, Neb., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed on dismissal by appellant. See also 8 Cir., 271 F.2d 357.
    
    